          (5)     receives public property as a pledge of an obligation on a debt from an
                  employee who is not lawfully authorized to sell or pledge the property;



          (6)     makes or uses a false record or statement to avoid an obligation to pay or
                  transmit property to the state;

          (7)     conspires with another person to perform an act described in subdivisions
                  (1) through (6); or

          (8)     causes or induces another person to perform an act described in
                  subdivisions (1) through (6); is, except as provided in subsection (c), liable
                  to the state for a civil penalty of at least five thousand dollars ($5,000) and
                  for up to three (3) times the amount of damages sustained by the state. In
                  addition, a person who violates this section is liable to the state for the
                  costs of a civil action brought to recover a penalty or damages.

76.       Defendant knowingly presented or caused to be presented to the Indiana Medicaid

      program false or :fraudulent records or statements and false or fraudulent claims for

      payment and approval, claims which failed to disclose material violations of law,

      and/or concealed their actions and to avoid or decrease an obligation to pay or

      transmit money to the state, and conspired with others to do so, all in violation of

      Indiana Code§ 5-11-5.5-2.

77.       The State of Indiana paid said claims and has sustained damages, to the extent of

      its portion of Medicaid losses from Medicaid claims filed in Indiana, because of these

      acts by Defendant.

COUNT THIRTEEN - VIOLATIONS OF THE LOUISIANA FCA/MEDICAL
          ASSISTANCE PROGRAMS INTEGRITY LAW
                  La. Rev. Stat. Ann. § 46:438.3

78.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

      set forth herein.

79.       The Louisiana FCA/Medical Assistance Programs Integrity Law ("Louisiana
                                      27
      FCA"), Rev. Stat. Ann. § 46:438.3, specifically provides, in part, that:

A.       No person shall knowingly present or cause to be presented a false or fraudulent
         claim.
B.       No person shall knowingly engage in misrepresentation or make, use, or cause to
         be made or used, a false record or statement to obtain payment for a false or
         fraudulent claim from the medical assistance programs' funds.
C.       No person shall knowingly make, use, or cause to be made or used, a false record
         or statement to conceal, avoid, or decrease an obligation to pay or transmit money
         or property to the medical assistance programs.

D.       No person shall conspire to defraud, or attempt to defraud, the medical assistance
         programs through misrepresentation or by obtaining, or attempting to obtain,
         payment for a false or fraudulent claim.

80.      Louisiana FCA, Rev. Stat. Ann.§ 46:438.2A(l), specifically provides that:

No person shall solicit, receive, offer or pay any remuneration, including but not limited
to kickbacks, bribes, rebates, or ... payments, directly or indirectly, overtly or covertly,
in cash or in kind, for the following: ( 1) In return for referring an individual to a health
care provider, ... for the furnishing or arranging to furnish any good, supply, or service
for which payment may be made, in whole or in part, under the medical assistance
programs.

81.      In addition, the Louisiana FCA, Rev. Stat. Ann. § 46:438.3 provides that:

No person shall knowingly present or cause to be presented a false or fraudulent claim
... shall knowingly engage in misrepresentation to obtain payment from the medical
assistance programs' funds ... shall conspire to defraud, or attempt to defraud, the
medical assistance programs . . . .

82.      Furthermore, the Louisiana FCA, Rev. Stat. Ann.§ 46:438.4, provides that:

No person shall knowingly make, use or cause to be made or used a false, fictitious, or
misleading statement on any form used for the purpose of certifying or qualifying any
person for eligibility ... to receive any good, service, or supply under the medical
assistance programs which that person is not eligible to receive.

83.      Defendant knowingly presented or caused to be presented to the Louisiana

      Medicaid program false or fraudulent records or statements and false or fraudulent

      claims for payment and approval, claims which failed to disclose material violations

                                          28
       of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

       transmit money to the state, and conspired with others to do so, all in violation of

       Louisiana Revised Statute § 46:438.3.

 84.       The State of Louisiana paid said claims and has sustained damages, to the extent

       of its portion of Medicaid losses from Medicaid claims filed in Louisiana, because of

       these acts by Defendant.


COUNT FOURTEEN - VIOLATIONS OF THE MARYLAND FALSE HEALTH
                    CLAIMS ACT OF 2010
               Md. Code Ann., Health-Gen. § 2-602

 85.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

       set forth herein.

 86.       The Maryland False Health Claims Act, Md. Code Ann., Health-Gen. § 2-602,

       specifically provides that:

 (A)      A person may not:


          (1)      Knowingly present or cause to be presented a false or fraudulent claim for
                   payment or approval;

          (2)      Knowingly make, use, or cause to be made or used a false record or
                   statement material to a false or fraudulent claim;

          (3)      Conspire to commit a violation under this subtitle;

          ( 4)    Have possession, custody, or control of money or other property used by
                  or on behalf of the State under a State health plan or a State health
                  program and knowingly deliver or cause to be delivered to the State less
                  than all of that money or other property;

          (5)     (i)      Be authorized to make or deliver a receipt or other document
                           certifying receipt of money or other property used or to be used by
                           the State under a State health plan or a State health program; and
                                            29
                  (ii)    Intending to defraud the State or the Department, make or deliver a
                          receipt or document knowing that the information contained in the
                          receipt or document is not true;

          (6)     Knowingly buy or receive as a pledge of an obligation or debt publicly
                  owned property from an officer, employee, or agent of a State health plan
                  or a State health program who lawfully may not sell or pledge the
                  property;

          (7)     Knowingly make, use, or cause to be made or used, a false record or
                  statement material to an obligation to pay or transmit money or other
                  property to the State;

          (8)     Knowingly conceal, or knowingly and improperly avoid or decrease, an
                  obligation to pay or transmit money or other property to the State; or

          (9)     Knowingly make any other false or fraudulent claim against a State health
                  plan or a State health program.

87.       Defendant knowingly presented or caused to be presented to the Maryland

      Medicaid program false or fraudulent records or statements and false or :fraudulent

      claims for payment and approval, claims which failed to disclose material violations

      of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

      transmit money to the state, and conspired with others to do so, all in violation of the

      Maryland False Health Claims Act of2010.

88.       The State of Maryland paid said claims and has sustained damages, to the extent

      of its portion of Medicaid losses from Medicaid claims filed in Maryland, because of

      these acts by Defendant.

  COUNT FIFTEEN - VIOLATIONS OF THE MASSACHUSETTS FCA
                  Mass. Gen. Laws ch. 12, § SB

89.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

      set forth herein.
                                           30
90.      The Massachusetts FCA, Mass. Gen. Laws ch. 12, §SB, specifically provides, in

      part, that any person who:

(1)      knowingly presents, or causes to be presented, a false or fraudulent claim for
         payment or approval;

(2)      knowingly makes, uses, or causes to be made or used, a false record or statement
         to obtain payment or approval of a claim by the commonwealth or any political
         subdivision thereof;

(3)      conspires to defraud the commonwealth or any political subdivision thereof
         through the allowance or payment of a fraudulent claim;

(4)      has possession, custody, or control of property or money used, or to be used, by
         the commonwealth or any political subdivision thereof and knowingly delivers, or
         causes to be delivered to the commonwealth, less property than the amount for
         which the person receives a certificate or receipt with the intent to willfully
         conceal the property;

(5)      is authorized to make or deliver a document certifying receipt of property used, or
         to be used, by the commonwealth or any political subdivision thereof and with the
         intent of defrauding the commonwealth or any political subdivision thereof,
         makes or delivers the receipt without completely knowing that the information on
         the receipt is true;

(6)      buys, or receives as a pledge of an obligation or debt, public property from an
         officer or employee of the commonwealth or any political subdivision thereof,
         knowing that said officer or employee may not lawfully sell or pledge the
         property;

(7)      enters into an agreement, contract or understanding with one or more officials of
         the commonwealth or any political subdivision thereof knowing the information
         contained therein is false;

(8)      knowingly makes, uses, or causes to be made or used, a false record or statement
         to conceal, avoid, or decrease an obligation to pay or to transmit money or
         property to the commonwealth or political subdivision thereof; or

(9)      is a beneficiary of an inadvertent submission of a false claim to the
         commonwealth or political subdivision thereof, subsequently discovers the falsity
         of the claim, and fails to disclose the false claim to the commonwealth or political
         subdivision within a reasonable time after discovery of the false claim shall be
         liable to the commonwealth or political subdivision for a civil penalty of not less
         than $5,000 and not more than $10,000 per violation, plus three times the amount

                                          31
          of damages, including consequential damages, that the commonwealth or political
          subdivision sustains because of the act of that person. A person violating sections
          5B to 50, inclusive, shall also be liable to the commonwealth or any political
          subdivision for the expenses of the civil action brought to recover any such
          penalty or damages, including without limitation reasonable attorney's fees,
          reasonable expert's fees and the costs of investigation, as set forth below....

91.       Defendant knowingly presented or caused to be presented to the Massachusetts

      Medicaid program false or fraudulent records or statements and false or :fraudulent

      claim~   for payment and approval, claims which failed to disclose material violations

      of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

      transmit money to the state, and conspired with others to do so, all in violation of

      Massachusetts General Laws ch. 12, § 5B.

92.       The Commonwealth of Massachusetts paid said claims and has sustained

      damages, to the extent of its portion of Medicaid losses from Medicaid claims filed in

      Massachusetts, because of these acts by Defendant.


COUNT SIXTEEN - VIOLATIONS OF THE MICIDGAN MEDICAID FCA
               Mich. Comp. Laws § 400.601 et seq.

93.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

      set forth herein.

94.       The Michigan Medicaid FCA, Mich. Comp. Laws§ 400.603, provides, inter alia,

      that:

(1)       A person shall not knowingly make or cause to be made a false statement or false
          representation of a material fact in an application for Medicaid benefits.

(2)       A person shall not knowingly make or cause to be made a false statement or false
          representation of a material fact for use in determining rights to a medicaid
          benefit.



                                           32
(3)       A person, who having knowledge of the occurrence of an event affecting ... [the]
          initial or continued right of any other person on whose behalf he has applied ...
          shall not conceal or fail to disclose that event with intent to obtain a benefit to
          which the person or any other person is not entitled or in an amount greater than
          that to which the person or any other person is entitled.



95.       Section 400.606, states that "[a] person shall not enter into an agreement,

      combination, or conspiracy to defraud the state by obtaining or aiding another to

      obtain the payment or allowance of a false claim . . . ."

96.       In section 400.607, "[a] person shall not make or present or cause to be made or

      presented to an employee or officer of this state a claim ... upon or against the state,

      knowing the claim to be false .... " And that "[a] person shall not make or present

      or cause to be made or presented a claim ... that he or she knows falsely represents

      that the goods or services for which the claim is made were medically

      necessary . . . ."

97.       In section 400.604, a person is prohibited from soliciting, offering, making, or

      receiving a kickback or bribe or rebate of any kind.

98.       Under section 400.612, "[a] person who receives a benefit that the person is not

      entitled to receive by reason of fraud or making a fraudulent statement or knowingly

      concealing a material fact ... shall forfeit and pay to the state the full amount

      received, and for each civil penalty of not less than $5,000.00 or more than

      $10,000.00 plus triple the amount of damages suffered by the state as a result of the

      conduct by the person."

99.      Defendant knowingly violated these provisions oflaw by presenting or causing to

      be presented to the Michigan Medicaid program false and/or fraudulent claims for
                                           33
      payment and approval, claims which failed to disclose the material violations of the

      law, knowingly made, used, or caused to be made or used a false record or statement

      to support such claims and/or to conceal their actions and to avoid or decrease an

      obligation to pay or transmit money to the state, and they conspired with others to

      defraud the state Medicaid program, all in violation of the Michigan FCA, and

      thereby caused damage to the State of Michigan.

      COUNT SEVENTEEN - VIOLATIONS OF THE MINNESOTA FCA
                     Minn. Stat. § 15C.02(a)

100.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

      set forth herein.

101.      The Minnesota FCA, Minn. Stat.§ 15C.02, attaches liability to:

(a)       A[ny] person who ... :

          (1)     knowingly presents, or causes to be presented, to an officer or employee of
                  the state or a political subdivision a false or fraudulent claim for payment
                  or approval;

          (2)     knowingly makes or uses, or causes to be made or used, a false record or
                  statement to get a false or fraudulent claim paid or approved by the state or
                  a political subdivisiol!;

          (3)     knowingly conspires to either present a false or fraudulent claim to the
                  state or a political subdivision for payment or approval or makes, uses, or
                  causes to be made or used a false record or statement to obtain payment or
                  approval of a false or fraudulent claim;

         (4)     has possession, custody, or control of public property or money used, or to
                 be used, by the state or a political subdivision and knowingly delivers or
                 causes to be delivered to the state or a political subdivision less money or
                 property than the amount for which the person receives a receipt;




                                           34
                (5)    is authorized to prepare or deliver a receipt for money or property used, or
                       to be used, by the state or a political subdivision and knowingly prepares
                       or delivers a receipt that falsely represents the money or property;

                (6)    knowingly buys, or receives as a pledge of an obligation or debt, public
                       property from an officer or employee of the state or a political subdivision
                       who lawfully may not sell or pledge the property; or

                (7)    knowingly makes or uses, or causes to be made or used, a false record or
                       statement to conceal, avoid, or decrease an obligation to pay or transmit
                       money or property to the state or a political subdivision.

        102.    Defendant knowingly presented or caused to be presented to the Minnesota

            Medicaid program false or fraudulent records or statements and false or fraudulent

            claims for payment and approval, claims which failed to disclose material violations

            of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

            transmit money to the state, and conspired with others to do so, all in violation of the

            Minnesota FCA.

        103.    The State of Minnesota paid said claims and has sustained damages, to the extent

            of its portion of Medicaid losses from Medicaid claims filed in Minnesota, because of

            these acts by Defendant.

    COUNT EIGHTEEN - VIOLATION OF THE MONTANA FALSE CLAIMS ACT
                      Mont. Code Ann. 17-8-401, et seq.

        134.    Relator alleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        13 5.   This is a claim brought by Plaintiff/Relator and the State of Montana to recover

treble damages, civil penalties and the cost ofthis action, under the Montana False Claims Act,

for Defendant' violations of such Act.

        136.    The Montana False Claims Act, at § 17-8-403 attaches liability to any person
                                                 35
who:

               (a) knowingly presents or causes to be presented to an officer or employee of the
               governmental entity a false or fraudulent claim for payment or approval;

               (b) knowingly makes, uses, or causes to be made or used a false record or
               statement to get a false or fraudulent claim paid or approved by the governmental
               entity;


               (c) conspires to defraud the governmental entity by getting a false or fraudulent
               claim allowed or paid by the governmental entity;

               (d) has possession, custody, or control of public property or money used or to be
               used by the governmental entity and, with the intent to defraud the governmental
               entity or to willfully conceal the property, delivers or causes to be delivered less
               property or money than the amount for which the person receives a certificate or
               receipt;

                (e) is authorized to make or deliver a document certifying receipt of property
               used or to be used by the governmental entity and, with the intent to defraud the
               governmental entity or to willfully conceal the property, makes or delivers a
               receipt without knowing that the information on the receipt is true;

               (f) knowingly buys or receives as a pledge of an obligation or debt public property
               of the governmental entity from any person who may not lawfully sell or pledge
               the property;

                (g) knowingly makes, uses, or causes to be made or used a false record or
               statement to conceal, avoid, or decrease an obligation to pay or transmit money or
               property to the governmental entity or its contractors; or

               (h) as a beneficiary of an inadvertent submission of a false or fraudulent claim to
               the governmental entity, subsequently discovers the falsity of the claim or that the
               claim is fraudulent and fails to disclose the false or fraudulent claim to the
               governmental entity within a reasonable time after discovery of the false or
               fraudulent claim.

       13 7.   Defendant knowingly presented or caused to be presented to the Montana

Medicaid program false or fraudulent records or statements and false or fraudulent claims for

payment and approval, claims which failed to disclose material violations of law, and/or

                                                36
concealed their actions and avoided or decreased an obligation to pay or transmit money to the

state, and conspired to do so, all in violation of Montana Code Annotated. § 17-8-403.

       138.      The State of Montana paid said claims and has sustained damages, to the extent of

its portion of Medicaid losses from Medicaid claims filed in Montana, because of these acts by

the Defendant.

                 COUNT NINETEEN - VIOLATIONS OF THE NEVADA FCA
                             Nev. Rev. Stat. § 357.040(1)

       104.      Relater alleges and incorporates by reference the foregoing paragraphs as if fully

           set forth herein.

       105.      The Nevada FCA, Nev. Rev. Stat.§ 357.040(1), specifically provides, in part, that

           a person who:

       with or without specific intent to defraud, does any of the following listed acts is liable to
       the State or a political subdivision, whichever is affected, for three times the amount of
       damages sustained by the State or political subdivision because of the act of that person,
       for the costs of a civil action brought to recover those damages and for a civil penalty of
       not less than $5,000 or more than $10,000 for each act:

                 (a)    Knowingly presents or causes to be presented a false claim for payment or
                        approval.

                 (b)    Knowingly makes or uses, or causes to be made or used, a false record or
                        statement to obtain payment or approval of a false claim.

                 (c)    Conspires to defraud by obtaining allowance or payment of a false claim.

                 (d)    Has possession, custody or control of public property or money and
                        knowingly delivers or causes to be delivered to the State or a political
                        subdivision less money or property than the amount for which the person
                        receives a receipt.

                 (e)    Is authorized to prepare or deliver a receipt for money or property to be
                        used by the State or a political subdivision and knowingly prepares or
                        delivers a receipt that falsely represents the money or property.

                 (f)    Knowingly buys, or receives as security for an obligation, public property

                                                 37
                from a person who is not authorized to sell or pledge the property.

        (g)     Knowingly makes or uses, or causes to be made or used, a false record or
                statement to conceal, avoid or decrease an obligation to pay or transmit
                money or property to the State or a political subdivision.

        (h)     Is a beneficiary of an inadvertent submission of a false claim and, after
                discovering the falsity of the claim, fails to disclose the falsity to the State
                or political subdivision within a reasonable time.

106.    Defendant knowingly presented or caused to be presented to the Nevada Medicaid

    program false or fraudulent records or statements and false or fraudulent claims for

    payment and approval, claims which failed to disclose material violations of law,

    and/or concealed their actions and to avoid or decrease an obligation to pay or

    transmit money to the state, and conspired with others to do so, all in violation of

    Nevada Revised Statute§ 357.040(1).

107.    The State of Nevada paid said claims and has sustained damages, to the extent of

    its portion of Medicaid losses from Medicaid claims filed in Nevada, because of these

    acts by Defendant.

       COUNT TWENTY - VIOLATIONS OF THE NEW JERSEY FCA
                    N.J. Stat. Ann.§ 2A:32C-1

108.    Relator alleges and incorporates by reference the foregoing paragraphs as if fully

    set forth herein.

109.    The New Jersey FCA, N.l Stat. Ann.§ 2A:32C-3, supplementing Title 2A of the

   New Jersey statutes and amending New Jersey Medical Assistance and Health

    Services Act, P.L. 1968, c. 413, N.J. Stat. Ann.§ 30:4D-l 7, provides in part that:

A person shall be jointly and severally liable to the State for a civil penalty of not less
than and not more than the civil penalty allowed under the federal FCA (31 U.S.C.
§ 3729 et seq.), as may be adjusted in accordance with the inflation adjustment
procedures prescribed in the Federal Civil Penalties Inflation Adjustment Act of 1990,
                                          38
Pub. L. 101-410, for each false or fraudulent claim, plus three times the amount of
damages which the State sustains, if the person commits any of the following acts:

a.       Knowingly presents or causes to be presented to an employee, officer or agent of
         the State, or to any contractor, grantee, or other recipient of State funds, a false or
         fraudulent claim for payment or approval;

b.       Knowingly makes, uses, or causes to be made or used a false record or statement
         to get a false or fraudulent claim paid or approved by the State;

c.       Conspires to defraud the State by getting a false or fraudulent claim allowed or
         paid by the State;

d.       Has possession, custody, or control of public property or money used or to be
         used by the State and knowingly delivers or causes to be delivered less property
         than the amount for which the person receives a certificate or receipt;

e.       Is authorized to make or deliver a document certifying receipt of property used or
         to be used by the State and, intending to defraud the entity, makes or delivers a
         receipt without completely knowing that the information on the receipt is true;

f.       Knowingly buys, or receives as a pledge of an obligation or debt, public property
         from any person who lawfully may not sell or pledge the property; or

g.      Knowingly makes, uses, or causes to be made or used a false record or statement
        to conceal, avoid, or decrease an obligation to pay or transmit money or property
        to the State.

110.     Defendant knowingly presented or caused to be presented to the New Jersey

     Medicaid program false or fraudulent records or statements and false or fraudulent

     claims for payment and approval, claims which failed to disclose material violations

     of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

     transmit money to the state, and conspired with others to do so, all in violation of the

     New Jersey FCA.

111.    The State of New Jersey paid said claims and has sustained damages, to the extent


                                           39
       of its portion of Medicaid losses from Medicaid claims filed in New Jersey, because

       of these acts by Defendant.

COUNT TWENTY-ONE - VIOLATIONS OF THE NEW MEXICO MEDICAID FCA
                     N.M. Stat. Ann.§ 27-14-4

   112. Relator alleges and incorporates by reference the foregoing paragraphs as if fully

       set forth herein.

   113. The New Mexico Medicaid FCA, N.M. Stat. Ann.§ 27-14-4, specifically provides,

      in part, that:

   A person commits an unlawful act and shall be liable to the state for three times the
   amount of damages that the state sustains as a result of the act if the person:

          A.       presents, or causes to be presented, to the state a claim for payment under
                   the medicaid program knowing that such claim is false or fraudulent;

          B.      presents, or causes to be presented, to the state a claim for payment under
                  the medicaid program knowing that the person receiving a medicaid
                  benefit or payment is not authorized or is not eligible for a benefit under
                  the medicaid program;

          C.      makes, uses or causes to be made or used a record or statement to obtain a
                  false or fraudulent claim under the medicaid program paid for or approved
                  by the state knowing such record or statement is false;

          D. ·    conspires to defraud the state by getting a claim allowed or paid under the
                  medicaid program knowing that such claim is false or fraudulent;

          E.      makes, uses or causes to be made or used a record or statement to conceal,
                  avoid or decrease an obligation to pay or transmit money or property to
                  the state, relative to the medicaid program, knowing that such record or
                  statement is false;

          F.      knowingly applies for and receives a benefit or payment on behalf of
                  another person, except pursuant to a lawful assignment of benefits, under
                  the medicaid program. and converts that benefit or payment to his own
                  personal use;

          G.      knowingly makes a false statement or misrepresentation of material fact
                  concerning the conditions or operation of a health care facility in order

                                            40
                 that the facility may qualify for certification or recertification required by
                 the medicaid program; or

         H.      knowingly makes a claim under the medicaid program for a service or
                 product that was not provided.

114.     Defendant knowingly presented or caused to be presented to the New Mexico

     Medicaid program false or fraudulent records or statements and false or fraudulent

     claims for payment and approval, claims which failed to disclose material violations

     of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

     transmit money to the state, and conspired to do so, all in violation of the New

     Mexico Statute§ 27-14-4.

115.     The State ofNew Mexico paid said claims and has sustained damages, to the

     extent of its portion of Medicaid losses from Medicaid claims filed in New Mexico,

     because of these acts by Defendant.

     COUNT TWENTY-TWO - VIOLATIONS OF THE NEW YORK FCA
                   N.Y. State Fin. Law§ 189

116.    Relator alleges and incorporates by reference the foregoing paragraphs as if fully

     set forth herein.

117.     The New York FCA, provides, in relevant part, as follows:

§ 189. Liability for certain acts.

1.      Subject to the provisions of subdivision two of this section, any person who:

        (a)      knowingly presents, or causes to be presented a false or fraudulent claim
                 for payment or approval;

        (b)     knowingly makes, uses, or causes to be made or used, a false record or
                statement material to a false or fraudulent claim;

        (c)     conspires to commit a violation of paragraph (a), (b), (d), (e), (f) or (g) of
                this subdivision;

                                           41
         (d)    has possession, custody, or control of property or money used, or to be
                used, by the state or a local government and knowingly delivers, or causes
                to be delivered, less than all of that money or property;

         (e)    is authorized to make or deliver a document certifying receipt of property
                used, or to be used, by the state or a local government and, intending to
                defraud the state or a local government, makes or delivers the receipt
                without completely knowing that the information on the receipt is true;

         (t)    knowingly buys, or receives as a pledge of an obligation or debt, public
                property from an officer or employee of the state or a local government
                knowing that the officer or employee violates a provision of law when
                selling or pledging such property; or

         (g)    knowingly makes, uses, or causes to be made or used, a false record or
                statement material to an obligation to pay or transmit money or property to
                the state or a local government shall be liable to the state or a local
                government, as applicable, for a civil penalty of not less than six thousand
                dollars and not more than twelve thousand dollars, plus three times the
                amount of all damages, including consequential damages, which the state
                or local government sustains because of the act of that person.

  118.   Defendant knowingly presented or caused to be presented to the New York

     Medicaid program false or fraudulent records or statements and false or fraudulent

     claims for payment and approval, claims which failed. to disclose material violations

     of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

     transmit money to the state, and conspired with others to do so, all in violation of

     New York State Finance Law§ 189.

 119.    The State of New York paid said claims and has sustained damages, to the extent

     of its portion of Medicaid losses from Medicaid claims filed in New York, because of

     these acts by Defendant.

COUNT TWENTY-THREE - VIOLATIONS OF THE NORTH CAROLINA FCA
                  N.C. Gen. Stat.§ 1-607(a)

 120.    Relator alleges and incorporates by reference the foregoing paragraphs as if fully

                                          42
      set forth herein.

121.      The North Carolina FCA, N.C. Gen. Stat.§ 1-607(a), attaches liability to:

Any person who ... :

(1)       Knowingly presents or causes to be presented a false or fraudulent claim for
          payment or approval.

(2)       Knowingly makes, uses, or causes to be made or used, a false record or statement
          material to a false or fraudulent claim.

(3)       Conspires to commit a violation of subdivision (1), (2), (4), (5), (6), or (7) of this
          section.

(4)       Has possession, custody, or control of property or money used or to be used by
          the State and knowingly delivers or causes to be delivered less than all of that
          money or property.

(5)       Is authorized to make or deliver a document certifying receipt of property used or
          to be used by the State and, intending to defraud the State, makes or delivers the
          receipt without completely knowing that the information on the receipt is true.

(6)      Knowingly buys, or receives as a pledge of an obligation or debt, public property
         from any officer or employee of the State who lawfully may not sell or pledge the
         property.

(7)      Knowingly makes, uses, or causes to be made or used, a false record or statement
         material to an obligation to pay or transmit money or property to the State, or
         knowingly conceals or knowingly and improperly avoids or decreases an
         obligation to pay or transmit money or property to the State.

122.      Defendant knowingly presented or caused to be presented to the North Carolina

      Medicaid program false or fraudulent records or statements and false or fraudulent

      claims for payment and approval, claims which failed to disclose material violations

      of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

      transmit money to the state, and conspired with others to do so, all in violation of the


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      North Carolina FCA.

 123.     The State of North Carolina paid said claims and has sustained damages, to the

      extent of its portion of Medicaid losses from Medicaid claims filed in North Carolina,

      because of these acts by Defendant.

COUNT TWENTY-FOUR- VIOLATIONS OF OKLAHOMA MEDICAID FCA
               Okla. Stat. Ann. tit. 63 § 5053.l(B)

 124.     Relator alleges and incorporates by reference the foregoing paragraphs as if fully

      set forth herein.

 125.    The Oklahoma Medicaid FCA, Okla. Sta. Ann. tit. 63 § 5053. l(B), added by

      Laws 2007, c.137 § 63-5053.lA. 2B, provides in part that:

 Any person who:

 1.       Knowingly presents, or causes to be presented, to an officer or employee of the
          State of Oklahoma, a false or fraudulent claim for payment or approval;

 2.      Knowingly makes, uses, or causes to be made or used, a false record or statement
         to get a false or fraudulent claim paid or approved by the state;'

 3.      Conspires to defraud the state by getting a false or fraudulent claim allowed or
         paid;

 4~      Has possession, custody, or control of property or money used, or to be used, by
         the state and, intending to defraud the state or willfully to conceal the property,
         delivers, or causes to be delivered, less property than the amount for which the
         person receives a certificate or receipt;

 5.      Is authorized to make or deliver a document certifying receipt of property used, or
         to be used, by the state and, intending to defraud the state, makes or delivers the
         receipt without completely knowing that the information on the receipt is true;

6.       Knowingly buys, or receives as a pledge of an obligation or debt, public property
         from an officer or employee of the state, who lawfully may not sell or pledge the
         property; or

 7.      Knowingly makes, uses, or causes to be made or used, a false record or statement
         to conceal, avoid, or decrease an obligation to pay or transmit money or property

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          to the state, is liable to the State of Oklahoma for a civil penalty of not less than
          Five Thousand Dollars ($5,000.00) and not more than Ten Thousand Dollars
          ($10,000.00), unless a penalty is imposed for the act of that person in violation of
          this subsection under the federal FCA for the same or a prior action, plus three
          times the amount of damages which the state sustains because of the act of that
          person.

126.      Defendant knowingly presented or caused to be presented to the Oklahoma

      Medicaid program false or fraudulent records or statements and false or fraudulent

      claims for payment and approval, claims which failed to disclose material violations

      of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

      transmit money to the state, and conspired with others to do so, all in violation of the

      Oklahoma Medicaid FCA.

127.      The State of Oklahoma paid said claims and has sustained damages, to the extent

      of its portion of Medicaid losses from Medicaid claims filed in Oklahoma, because of

      these acts by Defendant.


COUNT TWENTY-FIVE - VIOLATIONS OF RHODE ISLAND STATE FCA
                 R.I. Gen. Laws§ 9-1.1-3(a)

128.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

      set forth herein.

129.      The Rhode Island State FCA amending Title 9 of the Rhode Island general laws

      entitled "Courts and Civil Procedure/Procedure Generally," ch. 9-1.1, § 9-1.1-3 (a),

      provides, in part, that:

Any person who:

(1)       knowingly presents, or causes to be presented, to an officer or employee of the
          state or a member of the guard a false or fraudulent claim for payment or
          approval;

(2)       knowingly makes, uses, or causes to be made or used, a false record or statement
                                           45
          to get a false or fraudulent claim paid or approved by the state;

(3)       conspires to defraud the state by getting a false or fraudulent claim allowed or
          paid;

(4)       has possession, custody, or control of property or money used, or to be used, by
          the state and, intending to defraud the state or willfully to conceal the property,
          delivers, or causes to be delivered, less property than the amount for which the
          person receives a certificate or receipt;

(5)       authorized to make or deliver a document certifying receipt of property used, or to
          be used, by the state and, intending to defraud the state, makes or delivers the
          receipt without completely knowing that the information on the receipt is true;

(6)       knowingly buys, or receives as a pledge of an obligation or debt, public property
          from an officer or employee of the state, or a member of the guard, who lawfully
          may not sell or pledge the property; or

(7)       knowingly makes, uses, or causes to be made or used, a false record or statement
          to conceal, avoid or decrease an obligation to pay or transmit money or property
          to the state, is liable to the state for a civil penalty of not less than five thousand
          dollars ($5,000) and not more than ten thousand dollars ($10,000), plus three (3)
          times the amount of damages which the state sustains because of the act of that
          person. A person violating this subsection (a) shall also be liable to the state for
          the costs of a civil action brought to recover any such penalty or d.amages.

130.     Defendant knowingly presented or caused to be presented to the Rhode Island

      Medicaid program false or fraudulent records or statements and false or fraudulent

      claims for payment and approval, claims which failed to disclose material violations

      of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

      transmit money to the state, and conspired with others to do so, all in violation of

      Rhode Island General Law§ 9-1.1-3(a).

131.     The State of Rhode Island paid said claims and has sustained damages, to the

      extent of its portion of Medicaid losses from Medicaid claims filed in Rhode Island,

      because of these acts by Defendant.



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      COUNT TWENTY-SIX - VIOLATIONS OF THE TENNESSEE FCA
                  Tenn. Code Ann. § 4-18-103(a)

132.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

      set forth herein.

133.      The Tennessee FCA, Tenn. Code Ann.§ 4-18-103(a), specifically provides, in

      part, that any person who:

commits any of the following acts shall be liable to the state or to the political subdivision
for three (3) times the amount of damages that the state or the political subdivision
sustains because of the act of that person. A person who commits any of the following
acts shall also be liable to the state or to the political subdivision for the costs of a civil
action brought to recover any of those penalties or damages, and shall be liable to the
state or political subdivision for a civil penalty of not less than two thousand five hundred
dollars ($2,500) and not more than ten thousand dollars ($10,000) for each false claim:



(1)      Knowingly presents or causes to be presented to an officer or employee of the
         state or of any political subdivision thereof, a false claim for payment or approval;

(2)      Knowingly makes, uses, or causes to be made or used a false record or statement
         to get a false claim paid or approved by the state or by any political subdivision;

(3)      Conspires to defraud the state or any political subdivision by getting a false claim
         allowed or paid by the state or by any political subdivision;

(4)      Has possession, custody, or control of public property or money used or to be
         used by the state or by any political subdivision and knowingly delivers or causes
         to be delivered less property than the amount for which the person receives a
         certificate or receipt;

(5)      Is authorized to make or deliver a document certifying receipt of property used or
         to be used by the state or by any political subdivision and knowingly makes or
         delivers a receipt that falsely represents the property used or to be used;

(6)      Knowingly buys, or receives as a pledge of an obligation or debt, public property
         from any person who lawfully may not sell or pledge the property;




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(7)       Knowingly makes, uses, or causes to be made or used a false record or statement
          to conceal, avoid, or decrease an obligation to pay or transmit money or property
          to the state or to any political subdivision;

(8)       Is a beneficiary of an inadvertent submission of a false claim to the state or a
          political subdivision, subsequently discovers the falsity of the claim, and fails to
          disclose the false claim to the state or the political subdivision within a reasonable
          time after discovery of the false claim; or



(9)       Knowingly makes, uses, or causes to be made or used any false or fraudulent
          conduct, representation, or practice in order to procure anything of value directly
          or indirectly from the state or any political subdivision.

134.      Defendant knowingly presented or caused to be presented to the Tennessee

      Medicaid program false or fraudulent records or statements and false or fraudulent

      claims for payment and approval, claims which failed to disclose material violations

      of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

      transmit money to the state, and conspired with others to do so, all in violation of

      Tennessee Code§ 4-18-103(a).

135.      The State of Tennessee paid said claims and has sustained damages, to the extent

      of its portion of Medicaid losses from Medicaid claims filed in Tennessee, because of

      these acts by Defendant.

          COUNT TWENTY-SEVEN - VIOLATIONS OF TEXAS FCA
                 Tex. FCA Hum. Res. Code§ 32.039(b), (c)

136.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

      set forth herein.

137.          The Texas FCA, Tex. Hum. Res. Code § 32.039, specifically provides, in part,

      that:

(b)       A person commits a violation if the person:
                                          48
( 1)   presents or causes to be presented to the department a claim that contains a
       statement or representation the person knows or should know to be false;


       (1-a) engages in conduct that violates Section 102.001, Occupations Code;

       (1-b) solicits or receives, directly or indirectly, overtly or covertly any
       remuneration, including any kickback, bribe, or rebate, in cash or in kind for
       referring an individual to a person for the furnishing of, or for arranging the
       furnishing of, any item or service for which payment may be made, in whole or in
       part, under the medical assistance program, provided that this subdivision does
       not prohibit the referral of a patient to another practitioner within a multispecialty
       group or university medical services research and development plan (practice
       plan) for medically necessary services;

       ( 1-c) solicits or receives, directly or indirectly, overtly or covertly any
       remuneration, including any kickback, bribe, or rebate, in cash or in kind for
       purchasing, leasing, or ordering, or arranging for or recommending the
       purchasing, leasing, or ordering of, any good, facility, service, or item for which
       payment may be made, in whole or in part, under the medical assistance program;

       ( 1-d) offers or pays, directly or indirectly, overtly or covertly any remuneration,
       including any kickback, bribe, or rebate, in cash or in kind to induce a person to
       refer an individual to another person for the furnishing of, or for arranging the
       furnishing of, any item or service for which payment may be made, in whole or in
       part, under the medical assistance program, provided that this subdivision does
       not prohibit the referral of a patient to another practitioner within a multispecialty
       group or university medical services research and development plan (practice
       plan) for medically necessary services;

       (1-e) offers or pays, directly or indirectly, overtly or covertly any remuneration,
       including any kickback, bribe, or rebate, in cash or in kind to induce a person to
       purchase, lease, or order, or arrange for or recommend the purchase, lease, or
       order of, any good, facility, service, or item for which payment may be made, in
       whole or in part, under the medical assistance program;

       (1-f) provides, offers, or receives an inducement in a manner or for a purpose not
       otherwise prohibited by this section or Section 102. 001, Occupations Code, to or
       from a person, including a recipient, provider, employee or agent of a provider,
       third-party vendor, or public servant, for the purpose of influencing or being
       influenced in a decision regarding:


                                        49
              (A)    selection of a provider or receipt of a good or service under the
                     medical assistance program;

              (B)    the use of goods or services provided under the medical assistance
                     program; or


              (C)    the inclusion or exclusion of goods or services available under the
                     medical assistance program; or



(2)   is a managed care organization that contracts with the department to provide or
      arrange to provide health care benefits or services to individuals eligible for
      medical assistance and:

             (A) · fails to provide to an individual a health care benefit or service that
                   the organization is required to provide under the contract with the
                   department;

             (B)     fails to provide to the department information required to be
                     provided by law, department rule, or contractual provision;

             (C)     engages in a fraudulent activity in connection with the emollment
                     in the organization's managed care plan of an individual eligible
                     for medical assistance or in connection with marketing the
                     organization's services to an individual eligible for medical
                     assistance; or

             (D)     engages in actions that indicate a pattern of:

                     (i)    wrongful denial of payment for a health care benefit or
                            service that the organization is required to provide under
                            the contract with the department; or

                     (ii)   wrongful delay of at least 45 days or a longer period
                            specified in the contract with the department, not to exceed
                            60 days, in making payment for a health care benefit or
                            service that the organization is required to provide under
                            the contract with the department.

(c)   A person who commits a violation under Subsection (b) is liable to the
      department for:


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   ( 1)       the amount paid, if any, as a result of the violation and interest on that amount
              determined at the rate provided by law for legal judgments and accruing from the
              date on which the payment was made; and

   (2)        payment of an administrative penalty of an amount not to exceed twice the
              amount paid, if any, as a result of the violation, plus an amount:

              (A)     not less than$ 5,000 or more than$ 15,000 for each violation that results
                      in injury to an elderly person, as defmed by Section 48.002(1), a disabled
                      person, as defined by Section 48.002(8)(A), or a person younger than 18
                      years of age; or

              (B)     not more than $ 10,000 for each violation that does not result in injury to a
                      person described by Paragraph (A).

   138.       Defendant knowingly presented or caused to be presented to the Texas Medicaid

          program false or fraudulent records or statements and false or fraudulent claims for

          payment and approval, claims which failed to disclose material violations of law,

          and/or concealed their actions and to avoid or decrease an obligation to pay or

          transmit money to the state, and conspired with others to do so, all in violation of

          Texas FCA Human Resources Code§ 32.039(b), (c).

   13 9.      The State of Texas paid said claims and has sustained damages, to the extent of its

          portion of Medicaid losses from Medicaid claims filed in Texas, because of these acts

          by Defendant.

COUNT TWENTY- EIGHT- VIOLATIONS OF THE VIRGINIA FRAUD AGAINST
                        TAXPAYERS ACT
                   Va. Code Ann.§ 8.01-216.3(A)

   140.       Relator alleges and incorporates by reference the foregoing paragraphs as if fully

          set forth herein.

   141.       The Virginia Fraud Against Taxpayers Act, Va. Code Ann.§ 8.0l-216.3(A),

          specifically provides, in part, that:

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Any person who:


1.       Knowingly presents, or causes to be presented, to an officer or employee of the
         Commonwealth a false or fraudulent claim for payment or approval;

2.       Knowingly makes, uses, or causes to be made or used, a false record or statement
         to get a false or fraudulent claim paid or approved by the Commonwealth;

3.       Conspires to defraud the Commonwealth by getting a false or fraudulent claim
         allowed or paid;



4.       Has possession, custody, or control of property or money used, or to be used, by
         the Commonwealth and, intending to defraud the Commonwealth or willfully to
         conceal the property, delivers, or causes to be delivered, less property than the
         amount for which the person receives a certificate or receipt;

5.       Authorizes to make or deliver a document certifying receipt of property used, or
         to be used, by the Commonwealth and, intending to defraud the Commonwealth,
         makes or delivers the receipt without completely knowing that the information on
         the receipt is true;

6.      Knowingly buys or receives as a pledge of an obligation or debt, public property
        from an officer or employee of the Commonwealth who lawfully may not sell or
        pledge the property; or

7.      Knowingly makes, uses, or causes to be made or used, a false record or statement
        to conceal, avoid, or decrease an obligation to pay or transmit money or property
        to the Commonwealth;

shall be liable to the Commonwealth for a civil penalty of not less than $ 5,500 and not
more than $ 11,000, plus three times the amount of damages sustained by the
Commonwealth.

142.    Defendant knowingly presented or caused to be presented to the Virginia

     Medicaid program false or fraudulent records or statements and false or fraudulent

     claims for payment and approval, claims which failed to disclose material violations

     of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

     transmit money to the state, and conspired with others to do so, all in violation of
                                         52
        Virginia Code§ 8.01-216.3(A).

  143.      The Commonwealth of Virginia paid said claims and has sustained damages, to

        the extent of its portion of Medicaid losses from Medicaid claims filed in Virginia,

        because of these acts by Defendant.

COUNT TWENTY-NINE - VIOLATIONS OF THE WISCONSIN FALSE CLAIMS
               FOR MEDICAL ASSISTANCE LAW
                     Wis. Stat. Ann.§ 20.931(2)


  144.      Relator alleges and incorporates by reference the foregoing paragraphs as if fully

        set forth herein.

  145.      The Wisconsin False Claims for Medical Assistance Law, added by 2007

        Wisconsin Act 20, Wis. Stat. Ann. 20.931(2), provides, in part, that:

  any person who does any of the following is liable to this state for 3 times the amount of
  the damages sustained by this state because of the actions of the person, and shall forfeit
  not less than $5,000 nor more than $10,000 for each violation:

  (a)       Knowingly presents· or causes to be presented to any officer, employee, or agent
            of this state a false claim for medical assistance.

  (b)      Knowingly makes, uses, or causes to be made or used a false record or statement
           to obtain approval or payment of a false claim for medical assistance.

  (c)      Conspires to defraud this state by obtaining allowance or payment of a false claim
           for medical assistance, or by knowingly making or using, or causing to be made
           or used, a false record or statement to conceal, avoid, or decrease an obligation to
           pay or transmit money or property to the Medical Assistance program.

  (g)      Knowingly makes, uses, or causes to be made or used a false record or statement
           to conceal, avoid, or decrease any obligation to pay or transmit money or property
           to the Medical Assistance program.

  (h)      Is a beneficiary of the submission of a false claim for medical assistance to any
           officer, employee, or agent of this state, knows that the claim is false, and fails to
           disclose the false claim to this state within a reasonable time after the person
           becomes aware that the claim is false.

  146.     Defendant knowingly presented or caused to be presented to the Wisconsin
                                         53
             Medicaid program false or fraudulent records or statements and false or fraudulent

             claims for payment and approval, claims which failed to disclose material violations

             of law, and/or concealed their actions and to avoid or decrease an obligation to pay or

             transmit money to the state, and conspired with others to do so, all in violation of

             Wisconsin Statute § 20.931 (2).

       147.     The State of Wisconsin paid said claims and has sustained damages, to the extent

             of its portion of Medicaid losses from Medicaid claims filed in Wisconsin, because of

             these acts by Defendant.

                                     PRAYERS FOR RELIEF

       WHEREFORE, Relator, acting on behalf of and in the name of the United States of

America and the State Plaintiffs, demands and prays that judgment be entered as follows against

Defendant under the Federal FCA counts and under the State FCA counts as follows:

       (a)      In favor of the United States against Defendant for treble the amount of damages

                paid by the United States as a result of Defendant's conduct in causing the

                submission of false claims tainted by the payment of staffmg kickback, plus

                maximum civil penalties of Eleven Thousand Dollars ($11,000.00) for each

                violation of the FCA;


       (b)      In favor of the United States against Defendant for disgorgenient of the profits

                earned by Defendant as a result of its illegal schemes;


       (c)       In favor ofRelator for the maximum amount allowed pursuant to 31 U.S.C.

                § 3730(d) to include reasonable expenses, attorney fees, and costs incurred by

                Relator;

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(d)     For all costs of the Federal FCA civil action;


 (t)   In favor ofRelator and the named State Plaintiffs against Defendant in an amount

       equal to three times the amount of damages that California, Colorado,

       Connecticut, Delaware, District of Columbia, Florida, Georgia, Hawaii, Illinois,

       Iowa, Indiana, Louisiana, Maryland, Massachusetts, Minnesota, Nevada, New

       Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode Island,

       Tennessee, Virginia, and Wisconsin have sustained, respectively, as a result of

       Defendant' actions, as well as a civil penalty against Defendant of a statutory

       maximum for each violation of each State's FCA;


(g)    In favor of Relator and the Plaintiff State of Michigan against Defendant for a

       civil penalty equal to one time the loss caused to the Michigan Medicaid program

       as a result of Defendant' actions, plus damages equal to three times such loss;


(h)    In favor of Relator and the Plaintiff State of Texas against Defendant in an

       amount equal to two times the amount of damages that Texas has sustained as a

       result of Defendant' actions;

(i)    In favor of Relator for the maximum amount as a relator's share allowed pursuant

       to each State Plaintiff's FCA;

G)     In favor of Relator for all costs and expenses associated with the supplemental

       state claims, including attorney's fees and costs;

(k)    In favor of the State Plaintiffs and Relator for all such other relief as the Court

       deems just and proper; and



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        (m)      Such other relief as this Court deems just and appropriate.


                                             JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relators hereby demand a

trial by jury.




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November 18, 2015




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